Case 3:18-cv-01530-N-BH Document 19 Filed 02/12/19 Pageiof2 PagelD 169

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IN THE UNITED STATES DISTRI US DISTRICT COURT

NORTHERN DISTRICT OF [TRXASV PRM DISTRICT OF TEXAS
FILED

DALLAS DIVISION

ROGER HARRY OLSON, IT,
: FEB 12 2019

Movant,

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| CLERK, U.S. DISTRICT COURT
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Vv.

Deputy

UNITED STATES OF AMERICA,
Respondent.

Case No.: 3:18-cv-1530-N

NOTICE OF APPEAL

COMES NOW, the Movant, by and through himself, and hereby
submits this notice that an appeal is being taken to the United
States Court of Appeal for the Fifth Circuit, with respect to this
Court's Judgment dismissing Mr. Olson's § 2255 Motion as time barred
(Dkt. Nos. 9 and 10), and this Court's order accepting the
Magistrate's findings, conclusions, and recommendation with respect

to Mr. Olson's Motion for Relief under Fed.R.Civ.P. 60(b)(6). (Dkt.

Nos. 16 and 17).

Respectfully Submitted,

Roger Hary OlSon, II, Pro Se.
Reg. No.: 49151-177

FCI-1, Oakdale. Unit, A-2.

PO BOX 5000

Oakdale, LA 71463

CERTIFICATE OF SERVICE

I HEREBY CERTIFY under penalty of perjury, that the foregoing
notice was place in the hands of Mr. Dill (c/o at FCI-1, Oakdale)
for filing with this Court on 02/06/2019, via U.S.P.S. first class
pre-paid mail. See 28 U.S.C. § 1746.

Executed on the above date in Oakdale, LA.
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